Case 19-34054-sgj11              Doc 3944 Filed 10/19/23 Entered 10/19/23 13:05:02                                      Desc
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  TEXAS NORTHERN BANKRUPTCY
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        19-34054-SGJ11

        Highland Capital Management, L.P.




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        Case Number :                     19-34054-sgj11
        Case Title :                      Highland Capital Management, L.P.
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